Case 1:16-cv-01216-STA-egb Document 36 Filed 05/15/17 Page 1 of 1   PageID 420



                       UNITED STATES DISTRICT COURT
             WESTERN DISTRICT OF TENNESSEE
                   EASTERN DIVISION

KMI GROUP, INC. AND
SUMMITT PROPERTIES HOLDING,
LLC.
                                      AMENDED JUDGMENT IN A CIVIL CASE

      Plaintiffs,
v.
OWNERS INSURANCE COMPANY,                       CASE NO: 16-1216-STA-egb
      Defendant.



DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the
Stipulation of Dismissal entered on April 26, 2017, this cause
is hereby dismissed with prejudice.




                                                APPROVED:


s/ S. Thomas Anderson
CHIEF JUDGE UNITED STATES DISTRICT COURT
DATE: 5/15/2017                          THOMAS M. GOULD
                                         Clerk of Court

                                                s/Maurice B. BRYSON

                                         (By)    Deputy Clerk
